               Case: 22-2012   Document: 2     Filed: 06/16/2022   Pages: 2
                           UNITED STATES COURT OF APPEALS

                               For the Seventh Circuit

                               Chicago, Illinois 60604

                                   APPEARANCE FORM

          Appellate Court No.: 22-2012                Docketed on: 6/8/2022
          Short Caption: Hoops, LP, Heisley Member, Inc., Tax Matters Partner v. CIR
          District Court Judge:
          District Court No.: IRS-1: 11308-18

*******************************************************************************
You must either enter your appearance within 10 days of docketing this appeal
pursuant to Circuit Rule 3(d) or indicate your non-involvement by filing a
motion with this court. A "Certificate of Interest" pursuant to Circuit Rule
26.1 must also accompany this form if you intend to participate in this case.
*******************************************************************************

THE CLERK WILL ENTER MY APPEARANCE AS COUNSEL OR PRO SE ON BEHALF OF:
   Commissioner of Internal Revenue                         as the
                       (Party Name)
     [ ] appellant(s)           [X] appellee(s)          [ ] amicus curiae
     [ ] petitioner(s)          [ ] respondent(s)        [ ] intervenor(s)

Verify that the address and firm/office (if any) information is accurate. If
incorrect, strike through the incorrect information and record it correctly.

     Firm, Office or Facility:        Department of Justice
     Unit, Division or Section:       Tax Division, Appellate Section
     Address:                         Post Office Box 502
     City/State/Zip:                  Washington, DC 20044
     Firm Telephone Number:           (202) 514-3361

Name: Geoffrey J. Klimas (Lead Counsel)
Signature: _/s/ Geoffrey J. Klimas________________________________
Direct Phone No. (202) 307-6346
Admitted to Appellate Court?     Y    N X

Name:
Signature: __________________________________
Direct Phone No.
Admitted to Appellate Court?     Y     N ___

Add other counsel from your firm who will be participating in this case and
did not receive an appearance form.




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                Case: 22-2012   Document: 2   Filed: 06/16/2022   Pages: 2
Lead counsel must be admitted to this Court within 30 days of docketing and any
attorney who orally argues must be admitted to this court, pursuant to Circuit
Rule 46(a).

(1076.122194)




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